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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


KENNETH D. DILLEY,                         )             CASE NO. 4:08CV3005
                                           )
                     Plaintiff,            )
                                           )
              v.                           )                      ORDER
                                           )
UNITED STATES OF AMERICA,                  )
                                           )
                     Defendant.            )
                                           )


       This matter came on for determination upon the Stipulation for Dismissal of the
parties that the case be dismissed with prejudice (Filing #71), each party to bear their own
costs. The court, being fully advised in the premises, finds that such an order should
issue.

       IT IS THEREFORE ORDERED this case is dismissed with prejudice, each party to
bear their own costs.

       DATED this 28th day of August, 2009.


                                                 BY THE COURT:


                                                 /s/ William Jay Riley
                                                 United States Circuit Judge
                                                 Sitting by Designation
